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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

EXXONMOBIL CORPORATION,                           §
              Plaintiff,                          §
                                                  §
v.                                                §            Case No. 1:25-cv-00011
                                                  §
ROBERT ANDRES BONTA, et al.,                      §
               Defendants.                        §

                      REPLY IN SUPPORT OF DEFENDANT
            SURFRIDER FOUNDATION’S RULE 12(b) MOTION TO DISMISS

TO THE HONORABLE MICHAEL J. TRUNCALE:

       Defendant The Surfrider Foundation (“Surfrider”) files this reply in support of its Rule

12(b) Motion to Dismiss and would respectfully show:

I.     Introduction and summary.

       ExxonMobil’s attitude seems to be “Sue them all and let the Court sort them out.”

Although all its claims are dubious, its case against Surfrider is especially weak. Recognizing this,

ExxonMobil’s response to Surfrider’s motion to dismiss relies heavily on legally inadequate

allegations of “conspiracy” to try to save its claims against this small nonprofit. It fails.

       First, ExxonMobil is flat wrong that this Court may attribute to Surfrider, for personal

jurisdiction purposes, other Defendants’ Texas contacts. This Court cannot follow out-of-circuit

cases that conflict with Fifth Circuit precedent. Even if it could, ExxonMobil only alleges that

Surfrider cooperated with others to do something legal – file a lawsuit – not to engage in illegal

acts. Because this Court may only look at Surfrider’s Texas contacts to determine personal

jurisdiction, the absence of any relevant contacts requires dismissing Surfrider.

       Second, even if this Court had jurisdiction over Surfrider, ExxonMobil fails to state a claim

against it. ExxonMobil still has not identified a single allegedly defamatory statement Surfrider
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made. Its “conspiracy” allegations are insufficient to attribute other Defendants’ statements to

Surfrider. The sole statement that ExxonMobil alleges Surfrider published – a comment by

Baykeeper, not Surfrider – is not actionable because it is privileged and states Baykeeper’s

opinion, not verifiable facts. ExxonMobil’s tag-along “tortious interference” claims likewise fail.

II.    Surfrider is not subject to personal jurisdiction in this Court.

       Surfrider has cited two Fifth Circuit cases, Chow v. United States and Delta Brands v.

Danieli Corp., unambiguously holding that ExxonMobil must establish personal jurisdiction based

solely on Surfrider’s Texas contacts. Dkt. 48 at 9.1 ExxonMobil wants this Court to ignore those

cases because they are “unpublished,” and instead follow out-of-circuit cases it claims allow

amalgamating all alleged conspirators’ forum contacts. Dkt. 96 at 12. ExxonMobil must make

this argument for a change in Fifth Circuit law to that court, which held in Chow that “we implicitly

recognized that personal jurisdiction over one defendant conspirator is not sufficient to establish

personal jurisdiction over a nonresident coconspirator” in Thomas v. Kadis, 748 F.2d 276, 282 (5th

Cir. 1984), a published decision. 2021 WL 3438365, at *2 (emphasis added). Indeed, the Fifth

Circuit rejected ExxonMobil’s exact contention in Thomas, holding that neither

       conclusory allegations of conspiracy by the California defendants based upon their acts in
       California, nor the alleged effects of this conspiracy in Texas, show a claim of sufficient
       minimum contacts with Texas that would support personal jurisdiction of Texas courts
       against these defendants for their acts in California.

748 F.2d at 282. The basis for personal jurisdiction over Surfrider is even weaker because, unlike

Thomas, no Defendant is located in Texas or took action here giving rise to ExxonMobil’s claims.


1
  Chow v. United States, No. 20-30503, 2012 WL 3438365, at *2 (5th Cir. Aug. 5, 2021) (per
curiam) (rejecting argument that plaintiffs’ “civil conspiracy claim is enough to establish personal
jurisdiction over all of the defendants,” noting that “[t]here is no authority from this court
supporting” that contention); Delta Brands, Inc. v. Danieli Corp., 99 Fed Appx. 1, 5 (5th Cir. 2004)
(plaintiff must show defendant “individually, and not as part of the conspiracy, had minimum
contacts with Texas”).


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There is no question that Thomas, Chow, and Delta Brands remain the law of this Circuit.2 The

Texas Supreme Court agrees; even when there is a Texas coconspirator, due process prevents “the

assertion of personal jurisdiction over a nonresident defendant based solely upon the effects or

consequences of an alleged conspiracy with a resident in the forum state.” Nat. Indus. Sand Ass’n

v. Gibson, 897 S.W.2d 769, 773 (Tex. 1995). Therefore, even if ExxonMobil’s conspiracy

allegations were legally sufficient (they are not, see Section III.A, below), they could not support

personal jurisdiction over Surfrider in this Court.3

       ExxonMobil cites neither facts nor law that would allow this Court, consistent with due

process, to exercise personal jurisdiction over Surfrider. ExxonMobil falsely claims Surfrider’s

press release was published “in Texas,” Dkt. 96 at 11, when the undisputed evidence shows it was

written and published in California and not even sent to Texas media. Dkt. 48, Ex. 1 ¶¶ 15-17.

ExxonMobil’s reliance on Keeton v. Hustler Magazine, Inc., is misplaced because, unlike

Surfrider, the print publisher in Keeton regularly mailed and sold “thousands of magazines” into

New Hampshire. 465 U.S. 770, 773-74. Passive publication on a website is not a “contact” that

supports personal jurisdiction. Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 318 (5th

Cir. 2021) (if a website “just posts information that people can see,” “jurisdiction is unavailable,



2
  See, e.g., Hawkins v. Upjohn Co., 890 F. Supp. 601, 609 (E.D. Tex. 1994) (finding “no support
in the Fifth Circuit” supporting plaintiffs’ “contention that if this court has personal jurisdiction
over one of the conspirators, it can exercise personal jurisdiction over the co-conspirators as well”);
Eagle Metal Prod., LLC v. Keymark Enters., LLC, 651 F. Supp. 2d 577, 593 (N.D. Tex. 2009)
(following Delta Brands); Rusesabagina v. GainJet Aviation S.A., No. SA-20-CA-01422-XR,
2022 WL 17331272, at *6 (W.D. Tex. Nov. 29, 2022) (following Chow); Fed. of State Massage
Therapy Bds. v. Mendez, No. 4:17-cv-2936, 2018 WL 534540, at *5 n. 9 (S.D. Tex. Jan. 24, 2018)
(following Delta Brands and collecting cases).
3
 ExxonMobil wrongly conflates its inapplicable “conspiracy theory of jurisdiction” with “ordinary
agency law.” Dkt. 96 at 12. Its Complaint does not, and cannot, allege that the other Defendants
were Surfrider’s agents; it relies solely on its (inadequate) conspiracy allegations in a legally
baseless effort to attribute their purported Texas contacts to Surfrider. Id. at 1, 10-11.


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full stop”). ExxonMobil argues that Surfrider’s website is “interactive” because it solicits

donations, Dkt. 96 at 10, but the website in Johnson was interactive, too – it showed ads tailored

to Texas visitors and sold merchandise to Texans. Id. at 317-18. But “that doesn’t matter” in a

libel suit – what matters is “whether [the defendant] aimed the alleged libel at Texas.” Id. at 320,

322 (emphasis in original).

       The uncontested facts show that Surfrider’s press release was not “aimed at” Texas: it

announced a lawsuit filed in California, by California plaintiffs, claiming ExxonMobil’s California

acts violated California law; it did not mention Texas; it used no Texas sources; it was not sent

into Texas; the press conference was in California; and Surfrider’s Texas volunteers played no role

in the lawsuit, press release, or press conference. Dkt. 48 Ex. ¶¶ 13-21.4 ExxonMobil does not

cite a single case supporting personal jurisdiction under remotely similar facts, Dkt. 96 at 10-11,

and it ignores Johnson and the other analogous cases Surfrider cited.5 This Court should dismiss

ExxonMobil’s claims against Surfrider for lack of personal jurisdiction.

III.   ExxonMobil fails to state a claim against Surfrider.

       A.      ExxonMobil fails to state a claim against Surfrider based on other Defendants’
               statements or conduct.

       ExxonMobil premises nearly all its claims against Surfrider on its assertion that all

Defendants “were working together in partnership and collaboration,” supposedly making

Surfrider liable for all statements and acts of all Defendants. Dkt. 97 at 1. But the alleged


4
  ExxonMobil’s response refers to its conclusory assertion that, at some unidentified time,
Surfrider took some undefined “direct action” against its “advanced recycling,” Dkt. 96 at 10, but
the undisputed evidence shows that Surfrider did no such thing. Dkt. 48 Ex. 1 ¶ 22. Moreover,
ExxonMobil’s claims against Surfrider do not arise out of that alleged “direct action.”
5
  See Dkt. 48 at 10-11. See also USPlabs Jack3d, LLC v. MMRNV, LLC, No. 3:12-CV-1605, 2012
WL 12893435, at *3-4 (N.D. Tex. Oct. 31, 2012) (defendant who made allegedly defamatory
statements on Nevada television about Texas company’s product, without referring to Texas or
relying on Texas sources, is not subject to personal jurisdiction in Texas).


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“partnership and collaboration” is nothing but the parties’ cooperation in filing the California

lawsuits. Id. ExxonMobil alleges no facts showing that Surfrider intended anything illegal; its

claim that Surfrider “conspired” is based on nothing but unremarkable litigation cooperation.

       Texas law requires ExxonMobil to plead and prove that Surfrider had the “specific intent

to agree to accomplish something unlawful or to accomplish something lawful by unlawful

means.” First United Pent. Church of Beaumont v. Parker, 514 S.W.3d 214, 222 (Tex. 2017)

(emphases added). A “conspiracy to defame” specifically requires a meeting of the minds or

agreement to defame the plaintiff. Backes v. Misko, 486 S.W.3d 7, 15 (Tex. App. – Dallas 2015,

pet. denied); In re Lipsky, 441 S.W.3d 530, 551 (Tex. App. – Fort Worth 2013, orig. proceeding).

ExxonMobil pleads no facts showing that Surfrider had such an intent.

       ExxonMobil cites California Attorney General Bonta’s statement that parties “were

working together ‘in partnership and collaboration.’” Dkt. 97 at 1. Bonta was referring to the

lawsuits, not some nefarious plot,6 so his statement cannot support a reasonable inference that any

Defendant, let alone Surfrider, agreed to commit unlawful acts, as required to prove conspiracy.

       Similarly, ExxonMobil quotes part of Heal the Bay’s press release calling the nonprofits’

lawsuit “part of ‘a coordinated campaign.” Dkt. 97 at 11. But the full quote said it was part of

“coordinated campaign to legally hold Big Oil accountable for the production of wasteful and

harmful single-use plastics.”7 That statement cannot reasonably support the conclusion that the

nonprofits had agreed to employ illegal methods. Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

556-57 (2007) (allegations of lawful parallel conduct does not raise inference of conspiracy).



6
 See press conference video at https://www.youtube.com/watch?v=OR24jmO_uNY (last visited
June 26, 2025), cited ExxonMobil’s Complaint (Dkt. 1) at 17 n.18.
7
  https://healthebay.org/heal-thebay-sues-big-plastic/ (last visited June 26, 2025) (emphasis
added), cited in footnote 57, page 30 of the Complaint.


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       ExxonMobil’s claim of “concerted action,” Dkt. 97 at 7-8, shows only that the parties

worked together. So do countless joint parties in countless lawsuits; ExxonMobil cannot conflate

cooperation with conspiracy. The facts ExxonMobil alleges show an agreement to achieve a legal

objective by legal means; they do not support a probable inference of the polar opposite – an

unlawful conspiracy. Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007).

       ExxonMobil’s “conspiracy” pleading failure has two consequences. First, its conspiracy

claim must be dismissed. Second, it means ExxonMobil’s claims against Surfrider must stand or

fall on Surfrider’s own statements and conduct alone. They fall, as shown below.

       B.       ExxonMobil fails to state a claim against Surfrider based on Surfrider’s own
                statements or conduct.

       As noted, ExxonMobil’s Complaint does not identify a single allegedly defamatory

statement made by Surfrider. See Dkt. 48 at 14. Its response effectively concedes this, because it

only identifies statements made by other defendants, not Surfrider. Dkt. 97 at 3-4. The only

allegedly defamatory statement that ExxonMobil alleges Surfrider even published was made by

Baykeeper, and that statement is not actionable, as shown in Surfrider’s motion and below.

       The only act by Surfrider that ExxonMobil refers to in its response is the publication of

Surfrider’s press release, and the only statement in that release ExxonMobil claims was defamatory

was made by Baykeeper, not Surfrider. Dkt. 97 at 12. ExxonMobil’s Complaint does not,

however, allege that Surfrider is liable for Baykeeper’s statement, see Dkt. 1 ¶¶ 92-93, so it cannot

avoid dismissal based on that unpled statement. Given ExxonMobil’s failure to allege a plausible

conspiracy that would make Surfrider liable for other Defendants’ statements, the Court can stop

here and dismiss all of ExxonMobil’s claims against Surfrider.

       But even if ExxonMobil had pled Baykeeper’s statement as a basis for Surfrider’s liability,

its claim still would fail, because Surfrider’s press release accurately quoted Baykeeper, which



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accurately described the lawsuit’s allegations. Dkt. 48 at 14-16. Accurate reports of a lawsuit’s

contentions – like Surfrider’s report of Baykeeper’s contentions – are privileged under both Texas

and California law. Id. at 17-21. In response, ExxonMobil claims that Surfrider’s publication of

Baykeeper’s statement does not fall within any privilege, Dkt. 97 at 20-21, but ExxonMobil badly

misconstrues both Texas and California law.

       First, ExxonMobil argues that only absolute privileges apply in Texas defamation and

business disparagement cases. Dkt. 97 at 20. This is wrong. ExxonMobil misreads Hurlbut v.

Gulf Atlantic Life Ins. Co., 749 S.W.2d 762, 768 (Tex. 1987), as holding that qualified privileges

do not apply to either business disparagement (sometimes called “injurious falsehood”) or

defamation. Id. The Court in Hurlbut did not define the universe of Texas privileges; it simply

pointed out, logically, that because malice is an essential element of business disparagement, and

because malice overcomes qualified privilege, proving business disparagement defeats qualified

privilege. Id. But Hurlbut was not a defamation case; Texas case law is replete with defamation

cases applying common law qualified privileges.8

       Second, ExxonMobil confuses the common law fair report privilege with Texas’ statutory

media fair report privilege. Dkt. 97 at 21 (discussing Tex. Civ. Prac. & Rem. Code § 73.002(a)).

This is a red herring, because Surfrider’s motion did not invoke the statutory privilege, but rather

the ample Texas authority recognizing a common law privilege to accurately republish a lawsuit’s

allegations. See Dkt. 48 at 17-19. Critically, ExxonMobil does not contend that its complaint


8
  E.g., KMBT Operating Co., LLC v. Toledo, 492 S.W.3d 710, 714 (Tex. 2016) (discussing the
“common-law privilege to report on judicial proceedings”); Cox Media Group, LLC v. Joselevitz,
524 S.W.3d 850, 860 n.12 (Tex. App. – Houston [14th Dist.] 2017, no pet.) (discussing common-
law fair report privilege); Rockman v. OB Hospitalist Group, Inc., No. 01-21-00383-CV, 2023 WL
3311548 at *17-21 (Tex. App. – Houston [1st Dist.] May 9, 2023, no pet.) (discussing and
applying, to affirm dismissal of defamation plaintiff’s claims, the qualified common-interest
privilege).


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overcomes that privilege, only (wrongly) that the privilege is inapplicable. Dkt. 97 at 21. The

Court, therefore, may stop here and dismiss ExxonMobil’s claims against Surfrider.

       Moreover, Surfrider showed that its press release is absolutely privileged under

California’s broader statutory fair report privilege, which applies to press releases that accurately

report a lawsuit’s allegations. See Dkt. 48 at 19-21. In response, ExxonMobil illogically argues

that Surfrider forfeited a privilege that covers press releases by publishing its release on the most

common place for them – its website. Dkt. 97 at 21. ExxonMobil cites Wisk Aero LLC v. Archer

Aviation Inc., No. 3:21-CV-02450, 2023 WL 3919469 (N.D. Cal. June 9, 2023), but Wisk Aero

involved both blog posts and a press release; the parties agreed the blog post fell outside the

privilege, but the court ruled that “the press release is clearly protected by the doctrine.” Id. at *6.

Aero supports Surfrider, not ExxonMobil.

       Finally, Surfrider showed that Baykeeper’s statements are non-actionable opinion and

hyperbole. Dkt. 48 at 16-17. In response, ExxonMobil argues that whether Exxon “brainwashed

everyone,” whether its plastics are “poisoning waterways, wildlife and people” and “killing us a

little bit more every day,” and whether plastic recycling is “good for the planet” are statements of

verifiable fact, Dkt. 97 at 13, when they are obviously hyperbole and matters of subjective opinion,

not actionable libel. See Dkt. 48 at 16-17.9



9
   See, e.g., Peter Scalamandre & Sons, Inc. v. Kaufman, 113 F.3d 556, 562 (5th Cir. 1997)
(statement that “the people of Texas are being poisoned” by spreading toxic sludge on ranchland
is an opinion, not a verifiable fact); Ollman v. Evans, 750 F.2d 970, 991-92 (D.C. Cir. 1984) (article
accusing professor of extolling “the beneficial nature of ‘brainwashing’” is an opinion, not a
verifiable fact). ExxonMobil’s citation to Floyd v. Aalaei, No. 4:15-CV-00525, 2016 WL
4472777, *2 (E.D. Tex. Aug. 25, 2016), suggests that case held that “brainwashed” and
“gaslighted” are verifiable statements of fact, Dkt. 97 at 14, but those words were not at issue in
Floyd. Rather, the defendant in Floyd had accused an attorney on RipoffReport.com of fabricating
criminal charges against her and stealing her house, which “deliberately mischaracterize[d] the
facts underlying the property transfer” in question. Id.


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       C.      ExxonMobil failed to plead facts showing that Surfrider acted with actual
               malice, and it failed to plead negligence as an alternate standard of fault.

       Surfrider has shown that ExxonMobil pled no facts showing Surfrider acted with “actual

malice.” Dkt. 48 at 24. In response, ExxonMobil dubiously claims it is not a public figure “for

purposes of plastic recycling,” so it need only plead and prove negligence. Dkt. 97 at 18. It claims,

falsely, that “Defendants do not deny that ExxonMobil has adequately pleaded negligence,” id. at

17, when Surfrider expressly argued that ExxonMobil “pleads no facts to support a negligence

claim, and in fact never uses the words ‘negligence’ in its Complaint.” Dkt. 48 at 22 n.7.

       ExxonMobil also argues that Surfrider had an “economic motive” to knowingly lie in order

to raise funds, Dkt. 97 at 17-18, but all nonprofits fundraise; this is no evidence of actual malice.

See, e.g., Harte-Hanks Comms., Inc. v. Connaughton, 491 U.S. 657, 667 (1989) (alleged profit

motive is not actual malice). And again, ExxonMobil relies on its meritless conspiracy theory that

Surfrider is responsible for other Defendants’ states of mind. Dkt. 97 at 15-16. As shown above,

this argument fails, as does ExxonMobil’s actual malice pleading, as a matter of law.

       D.      ExxonMobil’s tortious interference claims are inadequately pleaded.

       Surfrider has shown that ExxonMobil’s “tortious interference with contract” claim is

fatally conclusory. Dkt. 48 at 26-28. In response, ExxonMobil cites one easily distinguished case,

Monitronics Int’l, Inc. v. Skyline Sec. Mgmt., Inc., No. 3:16-CV-02716-M, 2017 WL 2882624

(N.D. Tex. July 5, 2017). In Monitronics, the court held that the plaintiff’s complaint did not need

to identify the contracts allegedly interfered with because the defendant admittedly knew about

them. Id. at *5-6. As another court recognized, in Monitronics “the details of those contracts were

known by both parties to the suit,” so it was unnecessary for the plaintiff’s complaint to specify

them. Antero Res. Corp. v. C&R Downhole Drilling, Inc., No. 4:16-CV-668-Y, 2021 WL

9969511, at *3 n.2 (N.D. Tex. June 8, 2021). Not so here – ExxonMobil neither identifies the



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alleged contracts nor alleges Surfrider knew of them. Monitronics does not excuse ExxonMobil

from meeting the binding Fifth Circuit authority requiring it to include “clear and specific

description, evidence, or allegations regarding the details of the alleged interfered-with contract,”

with “a highly detailed and specific account (or evidence allowing the court to flesh out a highly

specific account) of the alleged interference.” Cuba v. Plyant, 814 F.3d 701, 718 (5th Cir. 2016).

Nor does ExxonMobil plead facts showing Surfrider had the requisite specific intent to interfere

with known contracts, citing only other parties’ statements about the California litigation that say

nothing about ExxonMobil contracts.

       As for its “tortious interference with prospective business” claim, ExxonMobil relies solely

on Bonta’s acts as alleged predicate torts, which, given ExxonMobil’s inadequate conspiracy

allegations, cannot be imputed to each of the remaining defendants.

       E.      There is no justiciable controversy between ExxonMobil and Surfrider about
               the legality of “advanced recycling” in Texas or elsewhere.

       Finally, Surfrider showed that ExxonMobil’s declaratory judgment claim does not present

a live case or controversy because Surfrider has never claimed ExxonMobil’s “advanced

recycling” is illegal in Texas or anywhere else. Dkt. 48 at 29-30. In response, ExxonMobil cites

only Bonta’s statements about “advanced recycling.” Dkt. 97 at 28-29. But Bonta’s statements

are not Surfrider’s, so they are no evidence of a justiciable dispute between Surfrider and

ExxonMobil. The declaratory judgment claim against Surfrider should be dismissed.

IV.    Conclusion and prayer.

       For these reasons, the Court should dismiss ExxonMobil’s claims against Surfrider and

grant such other and further relief to which Surfrider may be justly entitled.




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                                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 30, 2025, I electronically filed the foregoing with the Clerk of

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